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U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FILED

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

FEB ~/ 2019

CLERK U.S. DISTRICT COURT
By:

Deput
UNITED STATES OF AMERICA ew

v. No. 19m (YG

UNDER SEAL

MICHAEL KYLE SEWELL

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent Michael Phillipp, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

Between in or about November 2018 and the present, in the Northern
District of Texas and elsewhere, defendant MICHAEL KYLE SEWELL,
a United States citizen, and others, known and unknown, conspired with
each other to knowingly provide material support, to wit, personnel and
services, to a foreign terrorist organization (“FTO”), that is, Lashkar-e-
Tayyiba (LeT), an FTO that was designated by the Secretary of State at all
relevant times herein, knowing that the organization was a designated
terrorist organization and that the organization had engaged in and was

engaging in terrorist activity and terrorism, all in violation of 18 U.S.C.
§ 2339B.

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INTRODUCTION

l. I am a Special Agent with the Federal Bureau of Investigation, and have been
since January 7, 2018. I am currently assigned to the Dallas Division, Fort Worth
Resident Agency. My responsibilities include conducting investigations involving
allegations of terrorism and other violations of federal law. I have been the affiant on
multiple search warrants and participated in numerous searches. I have personally
participated in this investigation and am familiar with the information contained in this
affidavit.

2. This affidavit is submitted for the limited purpose of showing probable cause to
support this application for a criminal complaint and arrest warrant. Rather than
attempting to recount each and every fact known to me or others participating in this
investigation, I have set forth only those facts that I believe are sufficient to support a
probable cause finding for the issuance of the requested complaint and arrest warrant.
Where conversations or statements are related herein, they are related in substance and in
part.

The Coconspirators

3. Michael Kyle Sewell (“Sewell”) is a natural-born United States citizen residing in
Arlington, Texas.

4. Coconspirator 1 (CC1) is an adult United States citizen residing outside the

Northern District of Texas in the United States.

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Foreign Terrorist Organization Designation
5. Lashkar-e-Tayyiba (LeT) is a Pakistani-based Islamic extremist group and has
been designated by the U.S. Department of State as a foreign terrorist organization.

PROBABLE CAUSE

6. In late October, 2018, Sewell conversed via an online social media service with an
individual he believed to be a radical Islamic extremist. The individual was,
unbeknownst to Sewell, an FBI Undercover Employee (UCE 1).
7. On or about October 23, 2018, UCE 1 informed Sewell that UCE lwould be
joining LeT. On October 26, 2018, Sewell encouraged UCE | to fight in support of LeT.
Specifically, Sewell told UCE 1 to “fuck up” and “slaughter” the “Hindu Kafir,” destroy
their shrines and idols, and send Sewell photos of the same.
8. On or about November 2, 2018, UCE 1 told Sewell he/she was in Pakistan and was
about to join LeT. UCE 1 explained that after joining, he/she would be out of contact.
UCE 1 explained to Sewell that if Sewell wanted to join LeT, Sewell could contact a
facilitator. UCE 1 then provided Sewell with the online contact information of an LeT
member who could facilitate travel to join LeT. Unbeknownst to Sewell, the purported
facilitator was an FBI Undercover Employee (UCE 2).
9. On or about November 3, 2018, Sewell initiated an online discussion with UCE 2.
During the conversation, Sewell expressed interest in traveling overseas and fighting for

LeT. However, Sewell said he would need 3-5 years to prepare for joining LeT in order

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to physically train himself, obtain Lasik surgery to improve his vision, and save money
for an airline ticket to Pakistan. Sewell also stated that he used to support ISIS before
they began killing other Muslims. Nevertheless, Sewell stated he still supported the ISIS
flag. When UCE 2 asked what skills Sewell would bring to the fight, Sewell advised that
he was skilled in fighting, Greco Roman wrestling, pistol use, “marksmanship,” and
boxing. Sewell indicated that he wished to support LeT by fighting on the battlefield
instead of conducting a suicide bombing.

10. Between November 3, 2018 and November 7, 2018, Sewell conversed with
coconspirator 1 (CC1) via CC1’s known online social media service account. CC1 told
Sewell that he wanted to go to paradise and be a soldier of God, and sought guidance on
how to be Muslim. In response, Sewell provided CC1 with advice on how to practice
Islam and suggested Muslim clerics and teachings for CC1 to study.

11. On November 5, 2018, CC1 told Sewell that he wanted to join ISIS. Sewell
replied to CC1 that he should not join ISIS because ISIS had no territory. CC1 then asked
Sewell which group Sewell thought he should join. Sewell replied that LeT or the
Taliban were worth joining. CC1 then asked Sewell for “connections” associated with
these organizations. In response, Sewell provided CC1 with UCE 2’s online contact
information. Sewell told CC1 to contact UCE 2. Sewell advised CC1 that UCE 2 was in

Pakistan and could help CC1 get to LeT. CC1 told Sewell that he sent UCE 2 a message.

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12. UCE 2 learned through his conversations with Sewell that Sewell had given UCE
2’s contact information to CC1. On November 5, 2018, Sewell engaged in another online
discussion with UCE 2. During this discussion, UCE 2 questioned Sewell regarding CC1,
and asked why CC1 had a “Daesh” flag associated with his online profile.! In response,
Sewell stated he had instructed CC1 to take down the image of the ISIS flag and
explained to CC1 that ISIS was “Khwarij” (assessed in this context to mean a group
which has deviated from certain Islamic tenets). Sewell went on to tell UCE 2 that CC1
wished to fight and go to paradise. Sewell stated that CC1 was not a spy, or Sewell
would have killed him.

13. On November 6, 2018, Sewell and CC1 continued their discussion via an online
social media service. CC1 again solicited guidance from Sewell on the practice of Islam.
CC] stated he wanted to join a group like ISIS, al Qaeda, or the Taliban, but just did not
have the connections for joining such a group. CC1 told Sewell that he wanted to fight,
kill, die, and go to paradise.

14. On November 7, 2018, Sewell and CC1 engaged in further communication on a
social media service. During their discussion, CC1 told Sewell that UCE 2 had contacted
CCl. CC1 further advised Sewell that UCE 2 had asked CC1 who provided him with

UCE 2’s contact information. CC1 then asked Sewell to vouch for him to UCE 2. In

1 “Daesh” is an alias for ISIS.

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response, Sewell provided CC1 with advice on how to gain UCE 2’s trust. This advice
included Sewell telling CC1 to take the ISIS flag off of his online profile.

15. CCl then asked Sewell what organization CC1 would be joining. Sewell replied
that CC] would be joining LeT and explained that LeT was a well-funded group in
Pakistan operating in Kashmir, Afghanistan, and India. Sewell told CC1 that UCE 2
would soon be contacting him (CC1) and intended to determine if CC1’s intentions were
pure. Sewell told CC1 to tell UCE 2 that he wanted to be a soldier, fight for Allah, die,
and go to paradise. Sewell stated that he already told UCE 2 what CC1 wanted to do.
Towards the end of the conversation, Sewell told CC1 that he was happy for him and
encouraged him not to “bitch out” or “pussy out.” Sewell told CC1 to have fun in
Pakistan and message him when CC] arrived in Pakistan.

16. On November 9, 2018, Sewell engaged in further online discussion with UCE 2.
In this discussion, Sewell asked if UCE 2 had accepted “the brother” (presumably in
reference to CC1). Sewell further advised that CC1 was new to Islam and needed help
with learning and fitness. Sewell stated that CC1’s intentions were pure. Later in the
discussion, UCE 2 thanked Sewell for connecting CC1 to him and told Sewell that “many
lions” were needed. In reply, Sewell told UCE 2 that he would help him find more
(presumably meaning LeT recruits). Sewell urged UCE 2 to get CC1 to Pakistan and help
him with Islam. Sewell again promised that he would kill CC1 if it came to light that he

was a spy.

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17. Thereafter, CC1 and UCE 2 continued to converse online regarding CC1’s
intention to fight in support of LeT. During the course of their discussions, CC1
informed UCE 2 that he wanted to be an executioner. UCE 2 informed CC] that if he
could purchase a ticket to London, UK, arrangements could be made to get him to
Pakistan from there. On December 19, 2018, CC1 informed UCE 2 that he had purchased
a ticket from John F. Kennedy (JFK) Airport in New York, New York to London, UK,
which would depart on February 7, 2019.

Sewell’s Support of Violent Islamic Extremism

18. Sewell has made a number of statements on social media expressing his violent
intentions and support of Islamic extremism. These statements, made to other social
media service users, include the following:

e On October 18, 2018, Sewell stated that he is a maniac who could kill
anyone and not feel anything. Sewell also stated that he had killed dogs,
cats, goats, pigs, and camels, but not humans, saying that he would rather
wait to do that.

e On October 25, 2018, Sewell threatened to disembowel another social
media service user. Sewell stated that he was all about action and wished
death upon all homosexuals. Sewell went on to state that he could throw
his life away by taking a gun, finding a named American political activist,

and executing her. Sewell also said he would kill Saudi civilians. Sewell

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told another social media service user to pray to Allah that Sewell doesn’t
do something foolish. Sewell advised that he would be happy if he was in
Hezbollah.

e On November 3, 2018, Sewell stated that he knew many people in many
different countries that shared the same ideology as him, and that “we” want
death. Sewell stated that they wanted death as much as most young men
wanted sex.

e On November 9, 2018, Sewell told a social media user that he hates this
country (the United States) and American Muslims. Sewell stated that he
wanted to take a gun and kill liberal Muslims.

e On November 12, 2018, Sewell stated that, in war, he is a killing machine
and kills everything in sight. Sewell said that it was Allah’s will to turn him
into a killing machine.

e On November 15, 2018, Sewell stated that he hated “[H]ijabi[is] here [in
America]” (assessed to mean Muslim women in America) and that they
needed to “shut the fuck up with [their] liberal [bull]shit.” Sewell stated
that it made him want to “take a[n] ak and go hunting.”

e On November 20, 2018, Sewell told a social media service user that he

wanted to kill the user and decapitate him. Later in the conversation,

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Sewell stated that he wanted to kill gays by burning them alive like ISIS did
with the Jordanian pilot.
Sewell’s Attempts to Evade Detection
19. On October 29, 2018, Sewell engaged in a text message discussion with a
Confidential Human Source. In this discussion, Sewell stated that he had pretended to be
a Shia Muslim to mislead the FBI, because Sewell believed that the FBI was not afraid of
Shias. Sewell explained that pretending to be Shia would help him “go under their radar”
since the FBI was watching him. Sewell stated that despite this deception, his views and
ideology remained Salafist and extreme. Sewell said that he would never break under
pressure from the FBI and that he would show them hatred and hostility during any future
contacts.
Sewell’s Consciousness of Guilt
20. During Sewell’s online conversation with CC1 on November 7, 2018, CC1 asked
Sewell to call him. Sewell replied that the American government tracks phones. Later in
the conversation, Sewell told the individual that it was best if they “cut links” and use a
different online communication service for safety reasons. Sewell further explained that
if they (assessed to mean the FBI) found out that CC1 was gone (assessed to mean

traveled overseas to fight) because of Sewell, they would raid Sewell’s house.

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CONCLUSION

21. | WHEREFORE, your affiant respectfully submits that there is probable cause to
believe that the defendant, Michael Kyle Sewell conspired with CC1 to provide material
support and resources, including personnel (that is CC1) and services, to a foreign
terrorist organization, in violation of 18 U.S.C. § 2339B.

22. IT IS REQUESTED that an arrest warrant be issued for the defendant, Michael
Kyle Sewell, so that he may be prosecuted according to law.

23. IT IS FURTHER REQUESTED that this affidavit, arrest warrant and any other
papers submitted in support of this application be sealed until further order of the Court
so as to prevent notifying the defendant of the pending warrant, which might result in the

defendant attempting to avoid capture or to destroy evidence.

A Zs LEZ >,
Michael Phillipp

Special Agent
Federal Bureau of Investigation

Sworn before me, and subscribed in my presence on Feb CURR, 7T , 2019

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FREY L. CURETON
ited States Magistrate Judge

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